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                            Exhibit 192
    Plaintiffs’ Corrected Averment of Jurisdictional Facts and
Evidence and/or Statement of Facts as to Defendant Al Rajhi Bank
                       Pursuant to Rule 56.1
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UNITED                                                                         A
NATIONS

                    General Assembly

                                                        Distr.
                                                        GENERAL

                                                        A/RES/51/210
                                                        16 January 1997




Fifty-first session
Agenda item 151


                    RESOLUTION ADOPTED BY THE GENERAL ASSEMBLY
                 [on the report of the Sixth Committee (A/51/631)]

              51/210.   Measures to eliminate international
                        terrorism

         The General Assembly,
      Recalling its resolution 49/60 of 9 December 1994, by which it adopted
the Declaration on Measures to Eliminate International Terrorism, and its
resolution 50/53 of 11 December 1995,
      Recalling also the Declaration on the Occasion of the Fiftieth
Anniversary of the United Nations,1
      Guided by the purposes and principles of the Charter of the United
Nations,

      Deeply disturbed by the persistence of terrorist acts, which have taken
place worldwide,

      Stressing the need further to strengthen international cooperation
between States and between international organizations and agencies, regional
organizations and arrangements and the United Nations in order to prevent,
combat and eliminate terrorism in all its forms and manifestations, wherever
and by whomsoever committed,
      Mindful of the need to enhance the role of the United Nations and the
relevant specialized agencies in combating international terrorism,

      Noting, in this context, all regional and international efforts to
combat international terrorism, including those of the Organization of African
Unity, the Organization of American States, the Organization of the Islamic
Conference, the South Asian Association for Regional Cooperation, the European
Union, the Council of Europe, the Movement of Non-Aligned Countries and the



     1
         See resolution 50/6.

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countries of the group of seven major industrialized countries and the Russian
Federation,

      Taking note of the report of the Director-General of the United Nations
Educational, Scientific and Cultural Organization on educational activities
under the project entitled "Towards a culture of peace",2

      Recalling that in the Declaration on Measures to Eliminate International
Terrorism the General Assembly encouraged States to review urgently the scope
of the existing international legal provisions on the prevention, repression
and elimination of terrorism in all its forms and manifestations, with the aim
of ensuring that there was a comprehensive legal framework covering all
aspects of the matter,
      Bearing in mind the possibility of considering in the future the
elaboration of a comprehensive convention on international terrorism,
      Noting that terrorist attacks by means of bombs, explosives or other
incendiary or lethal devices have become increasingly widespread, and
stressing the need to supplement the existing legal instruments in order to
address specifically the problem of terrorist attacks carried out by such
means,

      Recognizing the need to enhance international cooperation to prevent the
use of nuclear materials for terrorist purposes and to develop an appropriate
legal instrument,

      Recognizing also the need to strengthen international cooperation to
prevent the use of chemical and biological materials for terrorist purposes,
      Convinced of the need to implement effectively and supplement the
provisions of the Declaration on Measures to Eliminate International
Terrorism,
         Having examined the report of the Secretary-General,3

                                         I
      1.    Strongly condemns all acts, methods and practices of terrorism as
criminal and unjustifiable, wherever and by whomsoever committed;
      2.    Reiterates that criminal acts intended or calculated to provoke a
state of terror in the general public, a group of persons or particular
persons for political purposes are in any circumstance unjustifiable, whatever
the considerations of a political, philosophical, ideological, racial, ethnic,
religious or other nature that may be invoked to justify them;

      3.    Calls upon all States to adopt further measures in accordance with
the relevant provisions of international law, including international
standards of human rights, to prevent terrorism and to strengthen
international cooperation in combating terrorism and, to that end, to consider
the adoption of measures such as those contained in the official document
adopted by the group of seven major industrialized countries and the Russian
Federation at the Ministerial Conference on Terrorism, held in Paris on




     2
         A/51/395, annex.
     3
         A/51/336 and Add.1.

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30 July 1996,4 and the plan of action adopted by the Inter-American
Specialized Conference on Terrorism, held at Lima from 23 to 26 April 1996
under the auspices of the Organization of American States,5 and in particular
calls upon all States:
      (a)   To recommend that relevant security officials undertake
consultations to improve the capability of Governments to prevent, investigate
and respond to terrorist attacks on public facilities, in particular means of
public transport, and to cooperate with other Governments in this respect;
      (b)   To accelerate research and development regarding methods of
detection of explosives and other harmful substances that can cause death or
injury, undertake consultations on the development of standards for marking
explosives in order to identify their origin in post-blast investigations, and
promote cooperation and transfer of technology, equipment and related
materials, where appropriate;
      (c)   To note the risk of terrorists using electronic or wire
communications systems and networks to carry out criminal acts and the need to
find means, consistent with national law, to prevent such criminality and to
promote cooperation where appropriate;
      (d)   To investigate, when sufficient justification exists according to
national laws, and acting within their jurisdiction and through appropriate
channels of international cooperation, the abuse of organizations, groups or
associations, including those with charitable, social or cultural goals, by
terrorists who use them as a cover for their own activities;

      (e)   To develop, if necessary, especially by entering into bilateral
and multilateral agreements and arrangements, mutual legal assistance
procedures aimed at facilitating and speeding investigations and collecting
evidence, as well as cooperation between law enforcement agencies in order to
detect and prevent terrorist acts;
      (f)   To take steps to prevent and counteract, through appropriate
domestic measures, the financing of terrorists and terrorist organizations,
whether such financing is direct or indirect through organizations which also
have or claim to have charitable, social or cultural goals or which are also
engaged in unlawful activities such as illicit arms trafficking, drug dealing
and racketeering, including the exploitation of persons for purposes of
funding terrorist activities, and in particular to consider, where
appropriate, adopting regulatory measures to prevent and counteract movements
of funds suspected to be intended for terrorist purposes without impeding in
any way the freedom of legitimate capital movements and to intensify the
exchange of information concerning international movements of such funds;
      4.    Also calls upon all States, with the aim of enhancing the
efficient implementation of relevant legal instruments, to intensify, as and
where appropriate, the exchange of information on facts related to terrorism
and, in so doing, to avoid the dissemination of inaccurate or unverified
information;

      5.    Reiterates its call upon States to refrain from financing,
encouraging, providing training for or otherwise supporting terrorist
activities;



     4
         A/51/261, annex.
     5
         See A/51/336, para. 57.

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      6.     Urges all States that have not yet done so to consider, as a
matter of priority, becoming parties to the Convention on Offences and Certain
Other Acts Committed on Board Aircraft,6 signed at Tokyo on 14 September 1963,
the Convention for the Suppression of Unlawful Seizure of Aircraft,7 signed at
The Hague on 16 December 1970, the Convention for the Suppression of Unlawful
Acts against the Safety of Civil Aviation,8 concluded at Montreal on
23 September 1971, the Convention on the Prevention and Punishment of Crimes
against Internationally Protected Persons, including Diplomatic Agents,9
adopted in New York on 14 December 1973, the International Convention against
the Taking of Hostages,10 adopted in New York on 17 December 1979, the
Convention on the Physical Protection of Nuclear Material,11 signed at Vienna
on 3 March 1980, the Protocol for the Suppression of Unlawful Acts of Violence
at Airports Serving International Civil Aviation, supplementary to the
Convention for the Suppression of Unlawful Acts against the Safety of Civil
Aviation,12 signed at Montreal on 24 February 1988, the Convention for the
Suppression of Unlawful Acts against the Safety of Maritime Navigation,13 done
at Rome on 10 March 1988, the Protocol for the Suppression of Unlawful Acts
against the Safety of Fixed Platforms located on the Continental Shelf,14 done
at Rome on 10 March 1988, and the Convention on the Marking of Plastic
Explosives for the Purpose of Detection,15 done at Montreal on 1 March 1991,
and calls upon all States to enact, as appropriate, domestic legislation
necessary to implement the provisions of those Conventions and Protocols, to
ensure that the jurisdiction of their courts enables them to bring to trial
the perpetrators of terrorist acts and to provide support and assistance to
other Governments for those purposes;
                                         II

      7.    Reaffirms the Declaration on Measures to Eliminate International
Terrorism contained in the annex to resolution 49/60;

      8.    Approves the Declaration to Supplement the 1994 Declaration on
Measures to Eliminate International Terrorism, the text of which is annexed to
the present resolution;

                                         III



     6
          United Nations, Treaty Series, vol. 704, No. 10106.
     7
          Ibid., vol. 860, No. 12325.
     8
          Ibid., vol. 974, No. 14118.
     9
          Ibid., vol. 1035, No. 15410.
     10
          Resolution 34/146, annex.
     11
          United Nations Treaty Series, vol. 1456, No. 24631.
     12
          International Civil Aviation Organization, document DOC 9518.
     13
          International Maritime Organization, document SUA/CONF/15/Rev.1.
     14
          Ibid., document SUA/CONF/16/Rev.2.
     15
       S/22393, annex I; see Official Records of the Security Council, Forty-
sixth year, Supplement for January, February and March 1991.

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      9.    Decides to establish an Ad Hoc Committee, open to all States
Members of the United Nations or members of specialized agencies or of the
International Atomic Energy Agency, to elaborate an international convention
for the suppression of terrorist bombings and, subsequently, an international
convention for the suppression of acts of nuclear terrorism, to supplement
related existing international instruments, and thereafter to address means of
further developing a comprehensive legal framework of conventions dealing with
international terrorism;
      10.   Decides also that the Ad Hoc Committee will meet from 24 February
to 7 March 1997 to prepare the text of a draft international convention for
the suppression of terrorist bombings, and recommends that work continue
during the fifty-second session of the General Assembly from 22 September to
3 October 1997 in the framework of a working group of the Sixth Committee;

      11.   Requests the Secretary-General to provide the Ad Hoc Committee
with the necessary facilities for the performance of its work;
      12.   Requests the Ad Hoc Committee to report to the General Assembly at
its fifty-second session on progress made towards the elaboration of the draft
convention;
      13.   Recommends that the Ad Hoc Committee be convened in 1998 to
continue its work as referred to in paragraph 9 above;
                                      IV

      14.   Decides to include in the provisional agenda of its fifty-second
session the item entitled "Measures to eliminate international terrorism".

                                                          88th plenary meeting
                                                              17 December 1996

                                    ANNEX
          Declaration to Supplement the 1994 Declaration on Measures
                     to Eliminate International Terrorism

      The General Assembly,
      Guided by the purposes and principles of the Charter of the United
Nations,
      Recalling the Declaration on Measures to Eliminate International
Terrorism adopted by the General Assembly by its resolution 49/60 of
9 December 1994,
      Recalling also the Declaration on the Occasion of the Fiftieth
Anniversary of the United Nations,1

      Deeply disturbed by the worldwide persistence of acts of international
terrorism in all its forms and manifestations, including those in which States
are directly or indirectly involved, which endanger or take innocent lives,
have a deleterious effect on international relations and may jeopardize the
security of States,
      Underlining the importance of States developing extradition agreements
or arrangements as necessary in order to ensure that those responsible for
terrorist acts are brought to justice,


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      Noting that the Convention relating to the Status of Refugees,16 done at
Geneva on 28 July 1951, does not provide a basis for the protection of
perpetrators of terrorist acts, noting also in this context articles 1, 2, 32
and 33 of the Convention, and emphasizing in this regard the need for States
parties to ensure the proper application of the Convention,
      Stressing the importance of full compliance by States with their
obligations under the provisions of the 1951 Convention16 and the 1967
Protocol relating to the Status of Refugees,17 including the principle of
non-refoulement of refugees to places where their life or freedom would be
threatened on account of their race, religion, nationality, membership in a
particular social group or political opinion, and affirming that the present
Declaration does not affect the protection afforded under the terms of the
Convention and Protocol and other provisions of international law,

      Recalling article 4 of the Declaration on Territorial Asylum adopted by
the General Assembly by its resolution 2312 (XXII) of 14 December 1967,
      Stressing the need further to strengthen international cooperation
between States in order to prevent, combat and eliminate terrorism in all its
forms and manifestations,
      Solemnly declares the following:

      1.    The States Members of the United Nations solemnly reaffirm their
unequivocal condemnation of all acts, methods and practices of terrorism as
criminal and unjustifiable, wherever and by whomsoever committed, including
those which jeopardize friendly relations among States and peoples and
threaten the territorial integrity and security of States;
      2.    The States Members of the United Nations reaffirm that acts,
methods and practices of terrorism are contrary to the purposes and principles
of the United Nations; they declare that knowingly financing, planning and
inciting terrorist acts are also contrary to the purposes and principles of
the United Nations;

      3.    The States Members of the United Nations reaffirm that States
should take appropriate measures in conformity with the relevant provisions of
national and international law, including international standards of human
rights, before granting refugee status, for the purpose of ensuring that the
asylum-seeker has not participated in terrorist acts, considering in this
regard relevant information as to whether the asylum-seeker is subject to
investigation for or is charged with or has been convicted of offences
connected with terrorism and, after granting refugee status, for the purpose
of ensuring that that status is not used for the purpose of preparing or
organizing terrorist acts intended to be committed against other States or
their citizens;

      4.    The States Members of the United Nations emphasize that asylum-
seekers who are awaiting the processing of their asylum applications may not
thereby avoid prosecution for terrorist acts;

      5.    The States Members of the United Nations reaffirm the importance
of ensuring effective cooperation between Member States so that those who have
participated in terrorist acts, including their financing, planning or
incitement, are brought to justice; they stress their commitment, in


     16
          United Nations, Treaty Series, vol. 189, No. 2545.
     17
          Ibid., vol. 606, No. 8791.

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conformity with the relevant provisions of international law, including
international standards of human rights, to work together to prevent, combat
and eliminate terrorism and to take all appropriate steps under their domestic
laws either to extradite terrorists or to submit the cases to their competent
authorities for the purpose of prosecution;
      6.    In this context, and while recognizing the sovereign rights of
States in extradition matters, States are encouraged, when concluding or
applying extradition agreements, not to regard as political offences excluded
from the scope of those agreements offences connected with terrorism which
endanger or represent a physical threat to the safety and security of persons,
whatever the motives which may be invoked to justify them;
      7.    States are also encouraged, even in the absence of a treaty, to
consider facilitating the extradition of persons suspected of having committed
terrorist acts, insofar as their national laws permit;
      8.    The States Members of the United Nations emphasize the importance
of taking steps to share expertise and information about terrorists, their
movements, their support and their weapons and to share information regarding
the investigation and prosecution of terrorist acts.
